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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION


 CANDICE TUTTLE,

                          Plaintiff,

 v.                                                          Civil Action No.: 4:24-cv-110

 TRIAGELOGIC, LLC,

                          Defendant.


                                       SCHEDULING ORDER

       Pursuant to Federal Rule of Civil Procedure 16(b) and the Local Rules of this Court, the

Court issues the following scheduling order in this matter. With the parties having held a

conference pursuant to Federal Rule of Civil Procedure 26(f) on September 6, 2024, and an

informal scheduling conference with the Court on October 29, 2024, the following deadlines shall

apply. These deadlines shall not be extended except upon a specific showing of good cause and

order of the Court. Fed. R. Civ. P. 16(b)(4). It is the Court’s expectation that the parties will not

need an extension of these deadlines. The showing of good cause necessary to obtain an extension

of any of these deadlines requires a specific showing of what the parties have accomplished to date

in discovery, what remains to be accomplished, and why the parties have not been able to meet the

Court’s deadlines.    Bare boilerplate assertions such as “the parties have diligently pursued

discovery to date, but additional time is necessary” will not suffice to establish good cause.

       Additionally, should any party seek an extension of these deadlines or seek the extension

of any other deadline in this case (including an extension of a deadline to respond to a motion or

file any other pleading), the party should first contact all other parties and determine if the other



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parties join in, consent to, or oppose the request for an extension. When filing the motion for an

extension, the party requesting the extension must state in their motion for an extension whether

the other parties join in, consent to, or oppose the request for an extension.

 DEADLINE TO EXCHANGE INITIAL DISCLOSURES                                        September 27, 2024

 DEADLINES FOR MOTIONS TO ADD                                                    October 22, 2024
 PARTIES OR AMEND PLEADINGS

 DEADLINE FOR COMPLETION OF WRITTEN DISCOVERY,                                   January 10, 2025
 INSPECTION, AND EXAMINATIONS UNDER RULE 33
 THROUGH 36 OF THE FEDERAL RULES OF CIVIL PROCEDURE

 DISCOVERY DEPOSITION OF WITNESSES WHO HAVE                                      March 11, 2025
 NOT BEEN DESIGNATED AS EXPERTS

 PLAINTIFF’S DEADLINE TO SERVE                                                   April 10, 2025
 EXPERT WITNESS REPORTS

 DEFENDANT’S DEADLINE TO SERVE                                                   May 12, 2025
 EXPERT WITNESS REPORTS

 DISCOVERY DEPOSITION OF WITNESSES WHO                                           July 9, 2025
 HAVE BEEN DESIGNATED AS EXPERTS

 STATUS REPORT DUE 1                                                             July 23, 2025

 LAST DAY FOR FILING ALL CIVIL MOTIONS,                                          August 8, 2025
 INCLUDING DAUBERT MOTIONS, BUT
 EXCLUDING MOTIONS IN LIMINE

       SO ORDERED, this 29th day of October, 2024.



                                       CHRISTOPHER
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                                             O HERR L.
                                                    L RAY
                                       UNITED
                                           ED STATES MA
                                                      MAGISTRATE
                                                       AGISTRATE JUDGE
                                                                 JUD
                                       SOUTHERN DISTRICT OF GEORGIA




1 A Post-Discovery Status Report Form for Judge Baker’s cases is available on the Court’s website
www.gas.uscourts.gov under “forms.” The parties are directed to use the content and format contained in
this Form when reporting to the Court.


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